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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION


IN RE: UBER TECHNOLOGIES, INC.,
PASSENGER SEXUAL ASSAULT LITIGATION                                                    MDL No. 3084


                                               ORDER

       When this litigation was commenced on July 14, 2023, with the filing of a motion by
various plaintiffs for transfer pursuant to 28 U.S.C. § 1407, the Clerk of the Panel captioned it as
IN RE: Uber Technologies, Inc., Passenger Sexual Assault Litigation.

        Following centralization of this docket by the Panel in the Northern District of California
before the Honorable Charles R. Breyer, defendants Rasier, LLC, Rasier-CA, LLC, and Uber
Technologies, Inc., now move to rename MDL No. 3084 IN RE: Uber Rideshare Litigation. The
current name is consistent with the Panel’s naming conventions. It also accurately reflects the
subject matter of the litigation, which will assist litigants and the courts in identifying actions that
may be potentially related to this litigation.

       IT IS THEREFORE ORDERED that the motion to rename this litigation is DENIED.


                                                       FOR THE PANEL:



                                                         Tiffaney D. Pete
                                                         Clerk of the Panel
